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                              UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY
                                             (609) 989-2040
          CHAMBERS OF                                                          U.S. COURTHOUSE
TONIANNE J. BONGIOVANNI                                                        402 E. STATE STREET, RM 6052
UNITED STATES MAGISTRATE JUDGE                                                 TRENTON, NJ 08608




                                             May 19, 2023

                                      SCHEDULING ORDER

         Re:      Mazo v. Durkin, et al.
                  Civil Action No. 20-8336 (ZNQ)

         Dear Counsel:

         Please be advised that the following schedule shall govern this matter:

      1. Initial Disclosures shall be exchanged by June 2, 2023.

      2. The parties shall conduct an E-Discovery conference pursuant to L.Civ.R. 26.1(d) by June
         2, 2023.

      3. The parties shall serve initial written discovery demands by September 15, 2023.

      4. Any motion to amend the pleadings or to add parties must be filed by September 8, 2023.

      5. The Court shall hold a telephone conference on October 5, 2023 at 10:00 a.m. The Court
         shall provide dial-in information for the conference at a later date.

      6. Counsel will confer in an attempt to resolve any discovery or case management disputes
         before making such dispute the subject of a motion. No discovery motion will be
         entertained absent the parties’ full compliance with L.Civ.R. 37.1(a)(1); see also L.Civ.R.
         16.1(f).

      7. Any discovery or case management dispute will be brought to the attention of the United
         States Magistrate Judge. L.Civ.R. 37.1(a)(1); see also L.Civ.R. 16.1(f).

      8. Maximum of 25 interrogatories by each party to each other party unless expanded upon by
         agreement of the parties.

      9. Maximum of 10 depositions to be taken by each party.

      10. All fact discovery shall be completed no later than April 6, 2024.

      11. Plaintiff’s expert reports shall be due on a date to be later set by the Court.
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   12. Defendants’ expert reports shall be due on a date to be later set by the Court.

   13. Expert discovery is to be completed by a date to be later set by the Court.

   14. A settlement conference will be scheduled on a date to be later set by the Court. Trial
       counsel and clients with full settlement authority must be present IN PERSON at the
       conference. Any failure in this regard may result in the imposition of sanctions.

   15. Dispositive motions shall be filed on a date to be later set by the Court.

   16. A Final Pretrial Conference shall be held before the undersigned on a date to be later set
       by the Court.

   17. At the pretrial conference counsel should be prepared to discuss settlement of the case.
       Clients must be available by telephone.

   18. The attorneys for all parties are further directed to meet together by agreement, initiated by
       counsel for the plaintiffs no later than ten (10) days before the date of the pretrial
       conference to:

                  a. discuss settlement;
                  b. stipulate to as many facts and issues as possible;

                  c. prepare a Final Pretrial Order in the form and content as required by the
                     Court. Plaintiff's counsel will prepare the Final Pretrial Order and will
                     submit it to all other counsel for approval and execution. The original and
                     one copy of the executed Final Pretrial Order will be delivered to the pretrial
                     conference. All counsel are responsible for the timely submission of the
                     Final Pretrial Stipulation and Order;

                  d. examine all exhibits and documents proposed to be used at trial;

                  e. complete all other matters which may expedite both the pretrial and trial of
                     the case;

                  f. submit an original and one copy of the proposed Final Pretrial Order at least
                     (5) days in advance of the conference; and

                  g. affix appropriate markers to the exhibits at or prior to the time they are
                     shown to opposing counsel at the meeting of counsel referred to above; each
                     marker will bear the number of the exhibit to which it is affixed.

   19. Any proposed confidentiality order agreed to by the parties must be accompanied by a
       separate statement showing specific good cause for the entry of the order and must comply
       with L.Civ.R. 5.3.

   20. The Court may, from time to time, schedule conferences as may be required, either on its
       own motion or at the request of the parties.
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   21. Since all dates set forth herein are established with the assistance and knowledge of the
       parties, there will be no extensions except for good cause shown and by leave of Court,
       even with consent of all parties.

   22. Failure to appear at subsequent conferences, or to comply with any of the terms of this
       Order, may result in sanctions.

   23. The parties are advised that the Court has various audio/visual and evidence presentation
       equipment available for use at trial at no cost to the parties. This equipment includes an
       evidence presentation system, which consists of a document camera and a projector. The
       projector may be used to display images which originate from a variety of sources,
       including television, VCR and personal computer. The document camera may be used to
       display documents, photographs, charts, transparencies and small objects. For further
       information, please contact the Courtroom Deputy John Moller.

   24. An original copy of any letter memoranda that is faxed or emailed to Chambers should
       NOT be mailed to Chambers, unless specifically advised otherwise. All proposed orders
       and letter memoranda emailed to Chambers should be in Microsoft Word format and
       emailed to: tjb_orders@njd.uscourts.gov. Any letter may be faxed to (609) 989-0435. Any
       filings with the Clerk of the Court should be in PDF format.

   25. Counsel MUST NOT file correspondence, including discovery or status letters, via
       CM/ECF unless instructed by the Court. Chambers will not receive notice of any such
       postings. If Counsel wish to have correspondence entered onto the Court docket, they may
       include this request in the correspondence to the undersigned.

   26. Counsel are invited to use the George H. Barlow Attorney Conference Room located on
       the third floor of the Courthouse Annex. The room is equipped with telephones, laptop
       and printer access, copier, and facsimile.

          IT IS SO ORDERED.
                                                     s/ Tonianne J. Bongiovanni
                                                   TONIANNE J. BONGIOVANNI
                                                   United States Magistrate Judge
